           Case 2:23-ap-01426-DS Doc 19 Filed 04/14/24                                            Entered 04/14/24 21:17:45                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Central District of California
Complete Industrial Repair, Inc,
       Plaintiff                                                                                                       Adv. Proc. No. 23-01426-DS
Torres,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0973-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Apr 12, 2024                                               Form ID: pdf031                                                            Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 14, 2024:
Recip ID                 Recipient Name and Address
pla                    + Complete Industrial Repair, Inc, 7403 Telegraph Road, Montebello, CA 90640-6515
dft                    + Toby Edward Torres, 14115 Elmbrook Avenue, La Mirada, CA 90638-3809

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 14, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 12, 2024 at the address(es) listed below:
Name                               Email Address
Frank E Marchetti
                                   on behalf of Plaintiff Complete Industrial Repair Inc frank@marchettilaw.com, marchettilaw@gmail.com

Howard M Ehrenberg (TR)
                                   ehrenbergtrustee@gmlaw.com
                                   ca25@ecfcbis.com;C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files@gmlaw.com

Richard G. Heston
                                   on behalf of Defendant Toby Edward Torres rheston@hestonlaw.com
                                   yflores@hestonlaw.com,docs@hestonlaw.com;HestonRR41032@notify.bestcase.com,handhecf@gmail.com

United States Trustee (LA)
                                   ustpregion16.la.ecf@usdoj.gov


TOTAL: 4
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       Frank E. Marchetti (SBN 203185)
   1   MARCHETTI LAW
   2   3731 Wilshire Boulevard, Suite 635                                   FILED & ENTERED
       Los Angeles, CA 90010
   3   Telephone: (626) 676-6377
       Email: frank@marchettilaw.com                                              APR 12 2024
   4
       Attorneys for Creditor Complete Industrial Repair, Inc.               CLERK U.S. BANKRUPTCY COURT
   5                                                                         Central District of California
                                                                             BY bakchell DEPUTY CLERK
   6                                   UNITED STATE BANKRUPTCY COURT

   7                      CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
   8
   9
       In re:                                                   Case No. 2:23-bk-13864-DS
  10
       TOBY EDWARD TORRES,                                      Chapter 7
  11
                         Debtor.                                Adv. No. 2:23-ap-01426-DS
  12
       ____________________________________
  13                                                            TRIAL SCHEDULING ORDER
       COMPLETE INDUSTRIAL REPAIR, INC.,
  14                                                            Hearing
                                    Plaintiff,                  Date: April 11, 2024
  15            v.                                              Time: 11:30 a.m.
                                                                Place: Courtroom 1639
  16
       TOBY EDWARD TORRES,                                             255 E. Temple St.
  17                                                                   Los Angeles, CA 90015
                                    Defendant.                         (via ZoomGov)
  18

  19                 The court held a status conference at the above time and place. Appearances were noted

  20   on the record. Based on the comments made by counsel at the hearing and the record in this case,

  21   for the reasons stated on the record at the hearing,

  22                 IT IS HEREBY ORDERED as follows:

  23                 1.      All discovery must be completed by no later than June 17, 2024. Expert

  24   disclosures must act in accordance with the Federal Rules of Civil Procedure.

  25                 2.      All discovery-related motions must be filed by no later than July 1, 2024. Any

  26   motions will be heard on July 26, 2024 at 11:30 a.m.

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   1            3.       A Pre-Trial Conference is scheduled for October 29, 2024 at 1:00 p.m. A pre-trial

   2    order must be filed and served by October 15, 2024.

   3            4.       The trial for the above-captioned adversary case is scheduled to take place from

   4    November 12, 2024 through November 14, 2024, at 10:00 a.m.

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       Date: April 12, 2024
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